                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


  S.B., a minor student, by and through his parents,
                                                  )
  M.B. and L.H., et al.,                          )
                                                  )
         Plaintiffs,                              )
                                                  )
  v.                                              ) No. 3:21-CV-00317-JRG-DCP
                                                  )
  GOVERNOR BILL LEE, in his official              )
  capacity as GOVERNOR OF TENNESSEE, and          )
  KNOX COUNTY BOARD OF EDUCATION,                 )
                                                  )
         Defendants.                              )
  ______________________________________________________________________________

                             JOINT STATUS REPORT
  ______________________________________________________________________________

         Per the Court’s Order of September 12, 2022 (Doc. 148), and the Notice of Defendant

  Governor Bill Lee (Doc. 149), the parties in this litigation jointly advise the Court that a Tentative

  Settlement (Doc. 147) of Plaintiffs’ Request for Attorney’s Fees and Costs and Dismissal of

  Claims was not approved by the appropriate State of Tennessee constitutional officers in

  accordance with Tenn. Code Ann. § 20-13-103.




                                                    1

Case 3:21-cv-00317-JRG-DCP Document 153 Filed 09/15/22 Page 1 of 3 PageID #: 2173
                                     Respectfully submitted,

                                     JONATHAN SKRMETTI
                                     ATTORNEY GENERAL AND REPORTER

                                     /s/ Reed Smith
                                     *Reed Smith, TN BPR 40059
                                     Assistant Attorney General
                                     *Admitted Pro Hac Vice
                                     Martha H. McCampbell, BPR# 013265
                                     Assistant Attorney General
                                     Office of the Tennessee Attorney General
                                     P.O. Box 20207
                                     Nashville, Tennessee 37202
                                     (615) 741-9593
                                     Reed.Smith@ag.tn.gov
                                     Marty.McCampbell@ag.tn.gov

                                     COUNSEL FOR DEFENDANT BILL LEE, in his
                                     official capacity as GOVERNOR of TENNESSEE

                                     GILBERT LAW, PLC

                                     /s/ Justin S. Gilbert
                                     Justin S. Gilbert, BPR# 017079
                                     100 W. Martin Luther King Blvd., Suite 501
                                     Chattanooga, Tennessee 37402
                                     Telephone: (423) 756-8203
                                     Facsimile: (423) 756-2233
                                     justin@schoolandworklaw.com


                                     THE SALONUS FIRM, PLC

                                     /s/ Jessica F. Salonus
                                     Jessica F. Salonus BPR# 28158
                                     139 Stonebridge Boulevard
                                     Jackson, Tennessee 38305
                                     Telephone: (731) 300-0970
                                     Facsimile: (731) 256-5711
                                     jsalonus@salonusfirm.com

                                     COUNSEL FOR PLAINTIFFS




                                        2

Case 3:21-cv-00317-JRG-DCP Document 153 Filed 09/15/22 Page 2 of 3 PageID #: 2174
                                    CERTIFICATE OF SERVICE

          I hereby certify that on this the 15th day of September, 2022, a copy of the foregoing was
  filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing report. Parties may access this filing through
  the Court’s electronic filing system.

                                                 /s/ Reed N. Smith
                                                 Reed N. Smith, (TN BPR 40059)*
                                                 Assistant Attorney General
                                                   Admitted pro hac vice




                                                    3

Case 3:21-cv-00317-JRG-DCP Document 153 Filed 09/15/22 Page 3 of 3 PageID #: 2175
